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                 UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF MICHIGAN
                           MINUTES

     Case Number               Date                  Time                Judge

   1:23-cv-00448-PLM        8/18/2023        11:03 - 11:19 AM        Phillip J. Green



                              CASE CAPTION

                          N.S. v. Sturgis Public Schools

                              APPEARANCES
     Attorney:                                       Representing:
 Elizabeth Kamm Abdnour                  Plaintiff

 Kenneth B. Chapie                       Defendant

                              PROCEEDINGS

 NATURE OF HEARING:

 16 Scheduling Conference Held via Zoom; CMO to issue.




                        Proceedings Digitally Recorded
                          Deputy Clerk: A. Doezema
